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 1
                                       UNITED STATES DISTRICT COURT
 2

 3                                         DISTRICT OF NEVADA
                                                       ***
 4
     UNITED STATES OF AMERICA,
 5
                          Plaintiff,
 6   vs.                                                  Case No. 2:13–cr–40–APG–VCF

 7   YAN JUAN ZHEN,                                       ORDER
 8                         Defendant.

 9
             This matter involves the United States’ prosecution of Yan Juan Zhen for, inter alia, conspiracy
10
     to manufacture a controlled substance in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(A)(vii). Before
11
     the court is Yan Juan Zhen’s Motion for Discovery (#84), which seeks disclosure of Brady material. To
12

13   date, the Government has not responded to Zhen’s motion.

14           Therefore, the Government is ordered to file an opposition to Zhen’s motion by Monday,

15   September 29, 2014. If the Government fails to file a timely response, the court will construe the

16   Government’s failure to respond as a consent to the granting of the motion.
17           ACCORDINGLY, and for good cause shown,
18
             IT IS ORDERED that the Government must file an OPPOSITION to Yan Juan Zhen’s Motion
19
     for Discovery (#84) by September 29, 2014 or CONSENT to the granting of the motion.
20
             IT IS SO ORDERED.
21
             DATED this 23rd day of September, 2014.
22
                                                                 _________________________
23                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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